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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.2
                                Eastern Division

Cathy A. Simovic
                                           Plaintiff,
v.                                                         Case No.: 1:10−cv−07459
                                                           Honorable Milton I. Shadur
Portfolio Recovery Associates, LLC
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, January 6, 2011:


        MINUTE entry before Honorable Milton I. Shadur:Status hearing held on
1/6/2011. On Plaintiff's oral motion this action is hereby dismissed with prejudice.Mailed
notice(srn, )




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